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AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


Shafique Ahmed, et al
                                                       JUDGMENT IN A CIVIL CASE
                                Plaintiffs,
         v.                                            Case Number: 2:19-cv-01925-JCM-DJA
Richland Holdings, Inc.


                                 Defendant.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

         Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

         IT IS ORDERED AND ADJUDGED
         that judgment is entered in favor of Defendant and against Plaintiffs. Plaintiffs’ complaint is dismissed
         without prejudice.




         6/17/2020
         ____________________                                   DEBRA K. KEMPI
         Date                                                  Clerk



                                                                /s/ M. Reyes
                                                               Deputy Clerk
